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                                                                  LINK: 106, 107, 108, 112, 113, 114
                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL

 Case No.          CV 06-2409-GAF                                          Date      October 7, 2011
 Title             Richard Robinson v. County of Los Angeles, Office of Public Safety, et al.




 Present: The Honorable                      GARY ALLEN FEESS
                Renee Fisher                               None                                     N/A
                Deputy Clerk                      Court Reporter / Recorder                       Tape No.
             Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                          None                                                      None


 Proceedings:              (In Chambers)

                                 ORDER RE: MOTIONS IN LIMINE

         The following sets forth background facts potentially relevant to all motions in limine.

       Plaintiff Richard Robinson, who held the rank of sergeant, worked for a number of years
as an officer in the County of Los Angeles Office of Public Safety. Having received favorable
work reviews over the years, he took an examination in 2003 to become eligible for promotion to
lieutenant. He was eventually placed in the highest band of candidates but was not promoted
before the eligibility list expired in 2006. Robinson now contends that he was not promoted
because his superiors were retaliating against him for reporting misconduct in the department in
violation of his First Amendment rights, and brings this Section 1983 suit against the County,
Chief Margaret York, and high ranking officers William Nash and Victor Turner.

       To prove his claim of First Amendment retaliation, Robinson must demonstrate that (1) in
his capacity as a citizen and not pursuant to his official duties he engaged in constitutionally
protected speech;1 (2) the defendants took an adverse employment action against him, which can


         1
          The speech must address matters of public concern, Connick v. Myers, 461 U.S. 138, 147 (1983), which
presents a legal question for the Court. The Court has previously ruled that the following subjects (and only those
subjects) are proper matters for the retaliation claim in this case:
        1. Testifying against the County in a May 2002 class action lawsuit alleging that the County engaged in
        systematic discrimination and harassment against sworn OPS officers;
        2. Reporting possible corruption by fellow officer Mitch Grace, who was allegedly working for an
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                              UNITED STATES DISTRICT COURT
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include a failure to promote; and (3) the employee’s speech was a “substantial or motivating”
factor for the adverse action. Freitag v. Ayers, 468 F.3d 528, 543 (9th Cir. 2006).

       The Court now has before it a number of motions in limine filed by the parties. The
following sets forth the Court’s rulings on those motions.

A. PLAINTIFF’S MOTIONS IN LIMINE.

Motion in Limine No. 1: To Exclude Evidence and Argument that the Individual Defendants are
Entitled to Qualified Immunity

       Defendants moved for summary judgment on the issue of qualified immunity. The
motion was denied and the Court’s denial was affirmed by the Ninth Circuit. Plaintiff now
moves to exclude the presentation of any evidence that might have some bearing on the question
of qualified immunity. Plaintiff does not identify any particular evidence to be excluded, but
contends that the issue of qualified immunity has been removed from the case.

         Defendants oppose the motion on the ground that it is a disguised motion for summary


        outside employer while “on the clock” for the county;
        3. Reporting possible drinking by sworn police officers during work hours;
        4. Following up with Internal Affairs, Defendant Nash, and others in December 2003 and February 2004,
        when it appeared that nothing was being done regarding his reports of corruption and on-duty drinking;
        5. Reporting the display of distinctive tattoos on the bodies of several members of the OPS training unit,
        reminiscent of the questionable “Viking” tattoos sported by members of the Los Angeles Sheriff’s
        Department, and suggesting the possibility of racist or anti-Semitic attitudes by members of the unit;
        6. Reporting a possible battery on a police explorer;
        7. Filing an official complaint with Internal Affairs regarding fellow officer and friend Nancy Leiva, who
        was allegedly a victim of racial and ethnic discrimination in connection with the display of a sign that
        read “Parking for Irish Only”;
        8. Reporting a possible use of excessive force incident that he heard had occurred during the detention of
        a suspect.
With respect to the first element, the Court must also determine under the balancing test established in Pickering
v. Board of Education, 391 U.S. 563, 568 (1968), whether the employee’s free speech interests outweigh the
employer’s interests in preventing workplace disruption. Moran v. State of Washington, 147 F.3d 839, 846 (9th
Cir. 1998). However, the question of whether there was actual disruption presents a question of fact that must be
resolved by the jury before the Court applies the balancing test.


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judgment, which this Court’s scheduling order precludes. Defendants contend that the issue has
not been removed from the case. Defendants note that the Court found that they were not
entitled to qualified immunity “if Plaintiff is believed” and “if Plaintiff proves his case.” They
likewise cite to language from the Ninth Circuit’s decision indicating that the issue before it was
whether Defendants are entitled to qualified immunity “as a matter of law assuming all factual
disputes were resolved in Robinson’s favor.” Finally, Defendants cite to Ortiz v. Jordan, 131
S.Ct. 884, 889 (2011) for the proposition that a “plea” of qualified immunity remains available at
trial even if it cannot be resolved summarily.

       In this case on this record, Defendants are wrong. Yes, qualified immunity may be
available at trial if there is an issue of fact regarding precisely what occurred in a situation
where, viewed one way, the facts would establish a violation of a clearly established
constitutional right but viewed in another way might violate a right that was not clearly
established. This is not such a case. The Court has already determined, as a matter of law, that
Plaintiff spoke out on matters of public interest as indicated in Note 1 of this order. Further, the
Court will, at the appropriate time, conduct the Pickering balancing. Given these
determinations, what both this Court and the Ninth Circuit have held is this: assuming that
Plaintiff proves facts establishing each element of the claim he has alleged in his complaint, he
will have established a First Amendment retaliation claim for which there is no qualified
immunity defense. If Robinson does not prove those facts and fails to prove at least one of the
elements of his claim, he will have failed to prove any violation at all. In the latter case,
Defendants will win not because they have immunity but because they did not violate Plaintiff’s
rights. In other words, this is a case where the particular right has been clearly established
(which both this Court and the circuit have recognized) but where the violation of that right
remains at issue for trial.

       Ortiz does not require a different result. Ortiz was a case where the trial judge had
determined that a purported qualified immunity defense turned on material facts genuinely in
dispute. The trial court therefore allowed the issue to proceed to trial. The reasons for that
ruling were not discussed because the issue presented in the Supreme Court was entirely
procedural – whether an order denying a motion for summary judgment on qualified immunity
could be appealed after a full trial on the merits. (Answer: No.) Nowhere in its opinion did the
Supreme Court hold that a trial court must always allow the issue of qualified immunity to
proceed to trial regardless of its ruling on a motion for summary judgment. Indeed, it would
make no sense to make such a rule because a defense of qualified immunity may fail pre-trial
because it is bound up with the facts of the case, or because the Plaintiff’s theory involves a right
so clearly established that no reasonable officer would be unaware of the rule.
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        In short, Defendants’ arguments completely miss the mark. They insist, for example, that
“if the jury finds it was not ‘clearly established’ that Robinson was speaking as a private citizen
– or if Robinson fails to adduce sufficient evidence at trial on this issue – then the Individual
Defendants will [be] entitled to qualified immunity.” (Oppos. at 4.) Not so. In such
circumstances Defendants will be entitled to a judgment in that case because Plaintiff has not
met his burden of proving an element of his claim, not because Defendants are immune from
liability for refusing to promote him for speaking out on matters of public importance.

       The motion is GRANTED. The Court will not instruct on qualified immunity and will
not allow argument to the jury on that issue.

Motion in Limine No. 2: To Exclude Evidence and Argument that Plaintiff’s Protected Speech,
as Outlined in this Court’s August 7, 2007 Order Involves Matters of Public Concern

       Plaintiff moves to exclude evidence that the items set forth in the footnote above were not
matters of public concern. Defendants oppose the motion. They contend that the issue has never
been resolved and that they should be permitted to present evidence regarding the “content, form
and context” of the various statements.

       Both parties are, to a degree, correct. The Court has determined that the subject matter
of Robinson’s alleged speech involves matters of public interest and that the Court was therefore
precluded from granting Defendants’ motion for summary judgment. To that extent, Plaintiff is
correct. However, the Court has not yet made a final determination as to whether the speech at
issue encompasses matters of public interest and will not be in a position to do so until after the
presentation of evidence at trial. Evidence regarding precisely what was said, the form that it
took (e.g., written or oral), to whom it was said, and the context in which it was said will be
permitted at trial. To that extent, Defendants are correct.

        At the end of the presentation of evidence, however, it will be for the Court and not the
jury to determine whether the speech touched on matters of public importance. The Court
reiterates what it wrote in its ruling on the motions for summary judgment:

                 “Whether an employee’s speech addresses a matter of public concern must be
                determined by the content, form, and context of a given statement, as revealed by
                the whole record.” Connick, 461 U.S. at 147-48. Although context is relevant (for
                example, did the speech involve a private conversation among co-workers or to a
                supervisor or manager), the most important consideration is “the content of the
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                speech.” Weeks v. Bayer, 246 F. 3d 1231, 1234 (9th Cir. 2001). Whether speech
                addresses a matter of public concern presents a question of law, not of fact. Alpha
                Energy Savers, Inc. v. Hansen, 381 F.3d 917, 923 (9th Cir. 2004) (citing Connick,
                461 U.S. at 148 n.7).

         The motion is therefore GRANTED IN PART and DENIED IN PART.

Motion in Limine No. 3: To Exclude Evidence and Argument of Plaintiff’s Separation of
Employment with the LAPD

       Plaintiff moves to exclude evidence that he was terminated from LAPD prior to being
hired by the Los Angeles County Office of Public Safety. Plaintiff contends that his separation
from LAPD was disclosed to the County before he was hired and that none of the Defendants,
“despite being asked,” ever indicated that the LAPD termination had any role in the personnel
actions at issue in this case.

        Defendants offer a somewhat disingenuous response in which they indicate that they will
not mention the LAPD termination in opening statement, but complain about the misstatements
and lack of specificity in the motion, theorize as to what the defendants may or may not know
(as if counsel doesn’t know what Defendants would say on these subjects), and speculate as to
the many ways in which the evidence might be relevant at trial. Defendants have thereby
accomplished one primary objective with this response – they have kept the Court in the dark as
to whether and to what extent they will testify as to how the LAPD termination affected their
conduct toward Robinson.

       The proponent of evidence has the burden of showing its relevance. The Court cannot
imagine that the LAPD separation is probative on any issue in this case, or, if it is, why the
prejudicial effect of such evidence would not be outweighed by the potential for prejudice,
confusion and undue consumption of time. Certainly Defendants, when confronted by this
motion, have made no such showing. Accordingly, the motion is GRANTED. Defendants are
to make no reference to or to offer evidence of the facts and circumstances relating to
Robinson’s termination by the LAPD. Moreover, Defendants are to review all documents to
insure that none of the proposed exhibits contain any such reference.

B. DEFENDANT’S MOTIONS IN LIMINE


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Motion in Limine No. 1: To Exclude Evidence and Argument of Alleged Failure to Promote
Before April 26, 2005.

       Defendants argue that Plaintiff should be precluded from presenting evidence regarding
any failure to promote prior to April 26, 2005. Defendants contend that the Court should grant
its motion because

                such a claim is not specifically pled in Robinson’s Complaint (Dkt #1), and also is
                specifically barred by a Settlement Agreement executed on April 26, 2005
                regarding Robinson’s appeal of his promotion examination score, pursuant to
                which Robinson released any and all claims arising out of or connected with his
                employment concerning the subject matter of his appeal arising before the date of
                the settlement.

(Mot. at 2.) For these reasons, Defendants contend that evidence of the failure to promote prior
to that date is not relevant and creates risk of undue prejudice.

        In opposition, Plaintiff contends that Paragraph 23 of his Complaint encompasses pre-
April 2005 decisions to promote persons other than Robinson, which were based on the
promotion list established in 2003, and that the release in the settlement agreement was limited
to his grievance which challenged his interview score. (Oppos. at 2-3.)

        The Court is persuaded that Defendant is correct. Although the Complaint references the
2003 promotional examination and identifies events leading to 2005 that support his assertion
that decisions made after April 2005 were retaliatory, its allegations of retaliation center on
events after April 2005. Specifically, Paragraph 15 states that, after the appeal which gave rise
to the settlement agreement, Robinson was placed in Band I with 10 other candidates. The
Complaint thereafter plainly asserts a theory that he was thereafter a victim of unconstitutional
retaliation. (Complaint, Docket No. 1, ¶¶ 16 et seq.) That alone is sufficient to grant the motion.
Furthermore, in connection with the dispute between Robinson and the County over his
interview score, classification and ranking for promotion, Robinson agreed to “fully release,
acquit, and forever discharge Office of Public Safety, County of Los Angeles [and all employees
thereof] from any and all liability whatsoever for any and all claims arising out of or connected
with the employment relationship between County and Petitioner concerning the subject matter
of the litigation between the parties . . . .” Because the litigation involved his ranking for
promotion, the release clearly encompasses any promotion-related claims up to that date.

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       For the foregoing reasons, the motion to exclude evidence of non-promotion prior to
April 26, 2005, is GRANTED.

Motion in Limine No. 2: To Exclude Evidence and Argument of Allegedly Protected Speech
More than One Year Before Failure to Promote

      As discussed below, the motion is GRANTED IN PART and DENIED IN PART.
Evidence of the 2002 lawsuit and Robinson’s testimony in that litigation will be excluded.
Evidence of his 2003 reports of corruption will be admitted.

       In this motion, Defendants seek to exclude evidence of “allegedly protected speech by
Robinson more than one year before April 26, 2005 . . . .” The motion encompasses testimony
by Robinson in 2002 in a discrimination case, a report in 2003 regarding conduct of an officer
working for a private employer while on the OPS clock, and reports made in 2003 and 2004
regarding officers drinking alcohol while on the job. Defendants contend that the speech is too
remote in time to be relevant to the alleged claim of retaliation, and in fact occurred prior to the
employment of York as Chief of OPS. In opposition Plaintiff argues that, because the Court has
already concluded that the matters under discussion in this motion involve matters of public
concern, they should be admitted.

        Plaintiff’s opposition misses the point. Even though Robinson may have spoken out on
matters of public concern in the past, to prove retaliation he must show “a causal link between
the [speech] and the adverse employment action.” Cornwell v. Electra Cent. Cred. Union, 439
F.3d 1018, 1034-35 (9th Cir. 2006) citing Steiner v. Showboat Operating Co., 25 F.3d 1459, 1464
(9th Cir. 1994). The temporal proximity of the protected activity to the adverse employment
action bears on the existence of the causal link. E.g., Cornwell, 439 F.3d at 1035; Yartzoff v.
Thomas, 809 F.2d 1371, 1376 (9th Cir. 1987). On the other hand, there is no hard and fast rule in
First Amendment cases that all speech must be close in time to the retaliation to be admitted as
evidence at trial. For example, in Clark County School Dist. v. Breeden, 532 U.S. 268, 273
(2001), cited by Defendants, the Supreme Court observed that where knowledge of the protected
activity, and hence a causal connection, is based only on temporal proximity between the event
and the adverse employment action, the temporal proximity must be close. At the same time,
where the claim of retaliation is based on a series of events that have occurred over a period of
time, with some of those events occurring close in time to the adverse employment actions, the
Court is persuaded that the logic of these cases is less compelling.

         In this case, the Court agrees that the testimony in the 2002 case is too remote and should
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not be admitted. First, the testimony was favorable to a claim made by Victor Turner, one of the
named defendants in this case. It is not logical to conclude that Turner took an adverse action
against Robinson based on Robinson’s assistance in the 2002 case. Moreover, the 2002
litigation preceded York’s hiring by at least a year, and there is no evidence that defendant Nash
was a party to or involved in any way in the 2002 case. Accordingly, the event is too remote to
have any logical connection to the post-April 2005 adverse employment action. Moreover, even
if it had some slight probative value, the Court concludes that admitting evidence of that event at
trial would create a risk of undue prejudice and confusion.

       On the other hand, the 2003 events, which are also the subject of a follow up report he
made in 2004, will be admitted. Robinson persisted in pursuing these complaints after York was
hired and into the year time period prior to the alleged adverse employment action. The Court is
therefore satisfied that these events bear a sufficient connection to the adverse employment
action to be considered by the jury at trial.

         Thus, as indicated above, the motion is GRANTED IN PART and DENIED IN PART.

Motion in Limine No. 3: To Exclude Evidence and Argument Contrary to Arbitrator’s Finding
of Just Cause for Reprimand

        This motion is based on information relating to an arbitration proceeding that was held in
January 2007 and resulted in a written decision (Ex. 8) issued by the arbitrator on May 22, 2007.
The arbitration arose out of a written reprimand to Robinson who, while assigned to Health
Services Bureau, allegedly interfered with matters in the Park Services Bureau where his
girlfriend, Nancy Leiva, was assigned. Leiva complained to Robinson of favoritism toward
another officer, Angela Contreras, and Robinson interjected himself into the situation. His effort
to involve himself in the dispute resulted in a written reprimand that read:

                On January 25, 2007, you unnecessarily and knowingly interjected yourself into
                matters which were the responsibility of another OPS bureau, by requesting a copy
                of radio transmission for a January 24, 2005 Parks Services Bureau incident. In
                making the request you also failed to notify your supervisor that you had
                information pertinent to an investigation.

(Ex. 8 at 3.) York was the author of the reprimand. After the grievance was heard by the
arbitrator, he issued a written ruling in which he found that OPS had just cause to issue the
reprimand. (Id. at 9.)
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       Defendants move to preclude Plaintiff from offering any evidence that would contradict
the arbitrator’s decision. Plaintiff does not actually oppose the motion because Plaintiff
concedes that evidence relating to the event “is not relevant to this lawsuit.” (Oppos. at 3.)

         The motion is GRANTED.

Motion in Limine No. 4: To Exclude Evidence and Argument: (1) of Alleged Lost Earnings after
September 30, 2010; and (2) Challenging the Legality of the Disbandment of the Office of
Public Safety or Plaintiff’s Layoff

       In this motion, Defendants seek to exclude evidence of any lost earnings after September
30, 2010, and evidence challenging the legality of the disbandment of the OPS. On the latter
issue Plaintiff indicates that he has no objection. The motion is to that extent GRANTED as
unopposed.

        On the damages question, Defendants contend that Plaintiff is not entitled to any damages
after September 30, 2010, because the department was shut down on that date. For that reason,
Defendants contend that he could not have continued to accrue lost earnings beyond that date.
Moreover, Defendants contend that the propriety of the shutdown, and the legality of the layoffs
resulting from that shutdown, are being litigated in another lawsuit – Coker et al. v. County of
Los Angeles, et al., Case No. BC 462419 (Los Angeles County Superior Court). More
particularly, Defendants seek to preclude Robinson’s expert economist from testifying to
economic losses that include computations for events occurring after September 30, 2010.

       Plaintiff opposes the motion. Plaintiff contends that, the layoff notwithstanding, he still
has pension rights and will collect a pension in a sum that is less than he would have received
had he been promoted.

         It appears that there is some merit to each argument. The Court concludes as follows:

         (1) Plaintiff can present evidence regarding his alleged lost wages from the date on which
         he claims he was improperly denied promotion to the date of his layoff. He cannot claim
         other lost wages because that would require this Court to litigate the propriety of the
         layoff which is not an issue in the present litigation.

         (2) To the extent that Plaintiff’s layoff does not preclude him from collecting a pension at
         some point in the future, Plaintiff can present evidence regarding the impact of the failure
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         to promote on his pension. In that regard, his expert can offer an opinion based on the
         date on which he can begin collecting his pension for the remainder of his life
         expectancy. The expert, however, must not incorporate into his assumptions any wages
         or benefits that might have otherwise accrued between September 30, 2010, and his
         retirement date.

      Accordingly, the motion is GRANTED IN PART and DENIED IN PART. The hearing
scheduled for October 24, 2011 is VACATED.


         IT IS SO ORDERED.




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